       Case 1:19-cr-00280-ELH          Document 212        Filed 05/08/20      Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                             *

       V.                                            *       CRIMINAL NO. ELH-19-0280

JEBRIEL ALI                                          *


                               MEMORANDUM AND ORDER

       Currently pending are Defendant's Motion for Review of Detention Order and/or Request

for Temporary Release Due to Health and Safety Concerns (ECF No. 183) (“Motion”),

Government’s Letter in Opposition to Motion for Review of Detention Order (ECF No. 195-

sealed version; ECF No. 207-unsealed version)(“Opposition”), and, in accordance with the

court’s Order for Supplemental Briefing (ECF No. 184), two letters from counsel for defendant

Daniel Jones (ECF Nos. 187 and 197- sealed versions; and ECF Nos. 208 and 209-unsealed

versions). In addition, at the defendant’s request, the court ordered the production of the

defendant’s medical records from Chesapeake Detention Facility (“CDF”) where the defendant

is detained (ECF No. 188) , and those medical records (ECF No. 191) (under seal) have been

reviewed by the court. Finally, in accordance with the court’s order regarding supplemental

briefing (ECF No. 204), the government filed a Supplemental Memorandum in Opposition to

Defendant’s Motion to Re-Open Detention Proceeding (ECF No. 210)(“Supplemental

Memorandum”) addressing the conditions at Chesapeake Detention Facility. For the reasons

stated below, the Motion (ECF No. 183) is denied.

       A detention hearing was held in this case on May 28, 2019. After both parties were fully

heard, I detailed my reasons for issuing a detention order on the record at the hearing. I issued

an Order of Detention summarizing those reasons (ECF No. 9). Pursuant to 18 U.S.C. § 3142(f),
       Case 1:19-cr-00280-ELH           Document 212        Filed 05/08/20       Page 2 of 6



a detention hearing may be reopened if the "judicial officer finds that information exists that was

not known to the movant at the time of the [detention] hearing and that has a material bearing on

the issue whether there are conditions of release that will reasonably assure the appearance of

such person as required and the safety of any other person and the community." Defendant

argues that the COVID-19 Virus Pandemic constitutes changed circumstances warranting the

defendant’s release, particularly in light of the fact that he suffers from chronic asthma and that

the threat of exposure to the virus has caused him significant stress and anxiety. (ECF No. 183 at

1). Defendant asserts that it is “hard to believe that [CDF is] adequately able to properly deal

with an institutional outbreak should it occur.” (Id. at 2-3). Because concerns relating to the

COVID-19 pandemic were not present at the time of the defendant’s original detention hearing,

the court agrees that § 3142(f) allows a reopening of the detention decision.

       The Court “recognize[s] the unprecedented magnitude of the COVID-19 pandemic” and

acknowledges that it can constitute new information warranting a reconsideration of a detention

order. United States v. Martin, Crim. No. PWG-19-140-13, ECF No. 209 at 4 (D. Md. Mar. 17,

2020). Notwithstanding these circumstances, however, the decision whether to release an

individual pending trial still requires an individualized assessment of the factors identified in the

Bail Reform Act, 18 U.S.C. § 3142(g). Id. at 5. In that regard, I have reviewed the bases for my

detention order, and I have reweighed the factors under the Bail Reform Act in light of the

current public health emergency, the current COVID-19 situation at the facility where the

defendant is being held, the defendant’s existing medical conditions, and the defendant’s

proposed conditions of release. The record in this case regarding the offenses charged and the

defendant’s background compel me to conclude that conditions of release cannot be fashioned to

address community safety, notwithstanding the potential risk of exposure to the virus that the



                                                  2
       Case 1:19-cr-00280-ELH          Document 212         Filed 05/08/20      Page 3 of 6



defendant faces while detained. The court fully analyzed the § 3142(g) factors at defendant’s

detention hearing. As noted in the court’s detention order, and detailed on the record at the

hearing both by the government and the court, an analysis of these factors overwhelmingly

supported a finding that detention was appropriate.

       As noted at the time of the detention hearing, the defendant was charged with a violation

of 18 U.S.C § 922(g), Felon in Possession of a Firearm. Since the detention hearing, the

defendant has been indicted for multiple narcotics and firearms violations. (ECF No. 124). The

evidence supporting these charges is overwhelming. There were wiretaps on multiple phones,

including those used by the defendant, which revealed that the defendant was selling a

significant quantity of heroin and fentanyl and that he was managing others in that

activity. (ECF No. 207 at 1-2). Notably, a search warrant executed on a vehicle being used by

the defendant produced a large amount of a heroin/fentanyl mixture, drug paraphernalia, and

loaded firearms. (Id.) The facts that supported the original charge of Felon in Possession of a

handgun were compelling as well—after a chase of the defendant in his vehicle, the defendant

fled on foot, and a search of the vehicle revealed a Glock handgun loaded with 21 rounds of

ammunition. (Id.) The history and characteristics of the defendant also supported the detention

order. At the time of these offenses, the defendant was on probation for a narcotics offense, and

the defendant has an outstanding warrant for a violation of that probation.

       The defendant’s criminal record includes several convictions for narcotics offenses,

unauthorized removal of property, and concealing contraband while in jail. The defendant has a

history of non-compliance with community supervision to include the pending violation of

probation as well as a prior revocation of parole. In addition, at the time of the detention

hearing, the court noted that the defendant fled from the police and that had multiple aliases and


                                                 3
        Case 1:19-cr-00280-ELH          Document 212         Filed 05/08/20      Page 4 of 6



false identifications on the record, as well as a history of failures to appear. Based upon all of the

above, the court concluded by clear and convincing evidence, pursuant to § 3142, that there were

no conditions of release which would reasonably assure the community’s safety. (ECF No.

155).

        In his Motion, defendant argues that he should be released because: 1) his living

conditions at CDF do not allow for social distancing and that CDF will be unable to contain an

outbreak of the virus; 2) he is at a greater risk of an adverse outcome should he contract the

virus because he has asthma1; 3) he has proposed release conditions to address concerns

regarding danger to the community. (ECF No. 183). As this court has previously noted, the

public health emergency created by COVID-19 is certainly a concern for all those in detention

facilities during this global pandemic. While the court is concerned for the defendant, and for all

others both inside and outside of the detention facility, these concerns do not constitute a basis

upon which to release an individual who this court has determined poses a threat to the safety of

the community. In its Supplemental Response, the government has exhaustively addressed the

policies and procedures in place at CDF to protect inmates and staff from the COVID-19 virus

and to avoid an outbreak of the virus. (ECF No. 210 at 2-9). The information provided by the

government establishes that CDF has instituted comprehensive precautionary measures at CDF

to avoid a COVID-19 outbreak. Of note, as the government details in its Supplemental

Response, as of May 5, 2020, there were 3 reported cases of CDF Staff testing positive for the

virus, and one inmate who did not contract the illness at the facility, but tested positive upon



1
 The defendant also noted that he suffered from bronchitis, (ECF No. 208 at 1), but that
condition does not appear in the defendant’s medical records, nor has the defendant offered any
other support for that assertion. I note, however, that even if the record supported defendant’s
assertion that he suffered from bronchitis, it would not change the court’s conclusions regarding
detention.
                                                  4
       Case 1:19-cr-00280-ELH          Document 212         Filed 05/08/20      Page 5 of 6



intake. (Id. at 2, n. 1). The defendant, by contrast, has not made any specific allegations

regarding the conditions at CDF or that any particular practices at CDF are insufficient to

address the needs of detainees. On this record, the court cannot conclude that the conditions at

CDF or its protocols are so inadequate as to warrant defendant’s release.

       Nor has defendant made any specific argument, let alone factual proffer, as to why his

medical condition is not being adequately addressed. Indeed, the medical records in this case

clearly establish that CDF has been attentive to the defendant’s needs and do not reflect any

current, acute needs of the defendant. As a result, it appears that the defendant’s medical needs

are being adequately addressed at CDF and do not support a reconsideration of the defendant’s

detention order. The court concludes that defendant’s motion for release should be denied

notwithstanding his claim that his asthma makes him uniquely vulnerable to COVID-19. The

court has also considered the defendant’s proposed conditions of release (ECF No. 187 at 2), and

notes that those proposed conditions of release are the very same conditions proposed at

defendant’s original hearing, albeit with a different third party custodian. The court concludes

now, as it did then, that those conditions of release are inadequate to address community safety

concerns. As the court found at the detention hearing in this case, there are no conditions or

combination of conditions which will reasonably assure the community’s safety. (ECF No.

9).

       In conclusion, the defendant has not presented any new information that would cause me

to reconsider my Order of Detention in accordance with 18 U.S.C. § 3142(f).2 Based upon the

foregoing, the court concludes that the circumstances proffered by the defendant do not


2
 Although the heading of defendant’s Motion notes that it contains an alternative request for the
defendant’s temporary release pursuant to 18 U.S.C. §3142(i), he offers absolutely no argument,
and cites to no facts or law, in support of that request. Notwithstanding this lack of support for

                                                 5
       Case 1:19-cr-00280-ELH          Document 212        Filed 05/08/20     Page 6 of 6



constitute a basis upon which to release an individual who the court has determined poses a

threat to the safety of the community. Accordingly, Defendant's Motion (ECF No. 183)

is denied.



Date:_5/8/20_____                          ______/s/__________________________________
                                            Beth P. Gesner
                                            Chief United States Magistrate Judge



his request, the court has considered release under that section in accordance with applicable law,
and has determined that the defendant has not satisfied the “compelling reason” standard
warranting his temporary release pursuant to §3142(i). The court notes that it has broadly
employed the analysis suggested by the Fourth Circuit in United States v. Creek, No. 20-4251,
Doc. 18 (4th Cir. Apr. 15, 2020) in considering COVID-19 based requests for temporary release
under to §3142(i), although the Creek order did not explicitly apply this analysis to other
provisions of the Bail Reform Act.




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